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                          UNITED STATES DISTRICT COURT

                              DISTRICT OF NEW JERSEY



 TRACI DIANA JULIN, on behalf of herself            CASE NO.: 2:19-cv-13446 – CCC -SCM
 and all others similarly situated,


              Plaintiff


 v.


 QUEST DIAGNOSTICS
 INCORPORATED, OPTUM360, LLC and
 AMERICAN MEDICAL COLLECTION
 AGENCY, INC.


              Defendants.




                              CERTIFICATE OF SERVICE

1.    I, James A. Barry, an attorney at the Locks Law Firm, LLC, represent Plaintiff Traci

      Diana Julin in the above referenced matter.

2.    On June 24, 2019, I sent a copy of the Notice of Voluntary Dismissal Withour Prejudice

      as to Defendant American Medical Collection Agency, Inc. Only to the parties listed in

      the chart below.

3.    I hereby certify under penalty of perjury that the above documents were sent using the

      mode of service indicated.
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     DATE: June 24, 2019               /s/ James A. Barry
                                       James A. Barry
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                                       Locks Law Firm, LLC
                                       801 North Kings Highway
                                       Cherry Hill, NJ 08034
                                       Telephone: (856) 663-8200
                                       Fascimile: (856) 661-8400



Name and Address of Party Served    Relationship of       Mode of Service
                                    Party to the Case
American     Medical   Collection   Defendant             __   Hand Delivered
Agency, Inc.
                                                          X     Regular Mail

                                                          X Certified mail/RR

                                                          __       Other E-Mail

David H. Hoffman, Esq.              Attorney for          __   Hand Delivered
Sidley Austin, LLP                  Defendant Quest
One South Dearborn                  Diagnostics           X     Regular Mail
Chicago, IL 60603                   Incorporated
David.hoffman@sidley.com                                  __   Certified mail/RR

                                                          X    Other E-Mail

Kristine M. Brown, Esq.             Attorney for        __     Hand Delivered
Alston & Bird                       Defendant Optum360,
One Atlantic Center                 LLC                 X       Regular Mail
1201 West Peachtree St.
Suite 4900                                                __   Certified mail/RR
Atlanta, GA 30309-3424
Kristy.brown@alston.com                                   X    Other E-Mail




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